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regulations.923 GMAC Mortgage also agreed to indemnify Ally Bank in accordance with the
terms of the Original Servicing Agreement for any breach thereof (and thus subject to the cap
on liability set forth therein).924 Apparently the letter was not presented to the ResCap Board
for approval because it was viewed as not expanding the liability of GMAC Mortgage beyond
what it had under the Original Servicing Agreement.925 Ally Bank decided not to mention the
side letter in its response to the FDIC but to disclose only the AFI guarantee.926

               f. The 2010 Servicing Agreement Negotiations

     A revised servicing agreement was prepared and negotiated in 2009 but not executed;927
there were extensive additional negotiations in 2010, but the parties were ultimately unable to
agree on a revision, so the Original Servicing Agreement remained in effect.

     The materials presented to the ResCap Board in April 2010 included a summary of the
differences between the Original Servicing Agreement and the draft revised servicing
agreement, which noted that the indemnification in the draft was more favorable to GMAC
Mortgage and similar to what GMAC Mortgage would receive from non-affiliated customers,
due to the coverage for liability due to origination and prior servicing.928 According to this
summary, the Original Servicing Agreement no longer fit GMAC Mortgage’s business
practices at the time929 because the Original Servicing Agreement was drafted primarily as a
HELOC agreement and the draft revised servicing agreement covered primarily loans owned
by one of the [GSEs].930 In addition, the summary noted that the pricing under the Original
Servicing Agreement was below-market but that the pricing in the draft revised servicing
agreement was similar to what GMAC Mortgage would earn under a third-party agreement.931
The difference was quantified at $18.8 million per year under the Original Servicing




923   Letter from GMAC Mortgage to Ally Bank (Oct. 5, 2010) [ALLY_0099749].
924   Id.
925   E-mail from T. Hamzehpour (Oct. 5, 2010) [EXAM30020126].
926   E-mail from J. Andrews (Oct. 5, 2010) [ALLY_0362953].
927   See Minutes of a Regular Meeting of the Board of Directors of Ally Bank, Oct. 19, 2010, at
      ALLY_PEO_0018501 [ALLY_PEO_0018332].
928   Materials for Presentation on Proposed Subservicing Agreement between GMAC Mortgage, LLC and Ally
      Bank by T. Hamzehpour, dated Apr. 29, 2010, at RC40016107–08 [RC40016061].
929   Id. at RC40016107–08.
930   Id. at RC40016107–08.
931   Id. at RC40016107–08; see also Affiliate Transaction Memorandum, Apr. 30, 2010 [ALLY_0018036]
      (attaching term sheets for comparable servicing functions provided to third parties to demonstrate that the
      pricing under the Original Servicing Agreement was favorable to Ally Bank).

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Agreement (based on amounts received in 2009) and $49.7 million per year under the draft
revised servicing agreement (assuming the new pricing was effective at the start of 2010).932
Surprisingly, the cap on GMAC Mortgage indemnification liability was not mentioned.933

     The ResCap Board continued to discuss revision of the servicing agreement at numerous
board meetings in 2010,934 and the indemnification provisions were a focus of the
discussions.935 The materials presented to the ResCap Board in October 2010 stated that none
of the four most recent sub-servicing agreements GMAC Mortgage entered into with third
parties contained caps on liability and that GMAC Mortgage has generally not sought or
received caps in other third-party servicing agreements.936 The presentation also noted that
servicing agreements that the Bank entered into with third-party servicers did not contain
caps.937 The Bank’s indemnification of the servicer was also narrower under the Original
Servicing Agreement as it was limited to breach of the agreement.938 Under the draft revised
servicing agreement, GMAC Mortgage as the servicer would be indemnified for origination
errors and for acting at Ally Bank’s direction. Further, the presentation noted that if the
servicer obtained a cap on liability GMAC Bank would likely seek a reciprocal cap.939 Despite
the materials presented it appears the ResCap Board did not agree to remove the indemnity
cap.940 On December 7, 2010, the ResCap Board discussed revisions to the draft servicing
agreement which incorporated a cap on GMAC Mortgage’s liability in an amount equal to


932   Materials for Presentation on Proposed Subservicing Agreement between GMAC Mortgage, LLC and Ally
      Bank by T. Hamzehpour, dated Apr. 29, 2010, at RC40016107–08 [RC40016061].
933   Id. at RC40016107–08.
934   Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 29, 2010, at
      RC40018774 [RC40018729] (discussing whether a fairness opinion was needed and deciding to defer
      decision until the Independent Directors could discuss the draft revised servicing agreement with counsel).
      Although the proposed draft servicing agreement was approved via a Unanimous Written Consent of the
      Board of Directors of Residential Capital, LLC, dated Apr. 30, 2010 [RC40018729], the agreement was not
      entered into at the time due to operational and compliance issues. See Memorandum to Residential Capital,
      LLC Board of Directors, dated Oct. 3, 2010, at RC40018776 [RC40016545]; see also Minutes of Special
      Meetings of the Board of Residential Capital, LLC, Nov. 5, 2010, at RC40018848 [RC40018729].
935   See Minutes of a Regular Meeting of the Board of Directors of Ally Bank, Oct. 19, 2010, at
      ALLY_PEO_0018501 [ALLY_PEO_0018332].
936   Materials for Presentation on Ally Bank Servicing Agreement by T. Hamzehpour, dated Oct. 5, 2010, at
      RC40016594–95 [RC40016584].
937   Id. at RC40016594–95.
938   Id.
939   Id.
940   Apparently “to resolve the impasse over caps on [GMAC Mortgage’s] indemnification obligations under the
      Servicing Agreement” the ResCap Board proposed that [GMAC Mortgage’s] indemnity would be uncapped
      in all respects except for affidavit and related foreclosure issues, which would be capped at an amount equal
      to aggregate servicing fees payable over one year under the [Original Servicing] Agreement.” E-mail from J.
      Andrews (Nov. 23, 2010) [EXAM10434855].

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twelve months’ servicing compensation—consistent with the Original Servicing Agreement—
and an exclusion for liability for indirect or incidental damages.941 GMAC Mortgage presented
a revised draft containing the terms to Ally Bank.942 Ultimately, the draft revised servicing
agreement943 was approved by the ResCap Board on December 22, 2010.944 Marano attended
the ResCap Board meeting in his capacity as a director. During the telephonic meeting, he e-
mailed Barbara Yastine, stating “it seems as if the [ResCap Board] has to accept what may be
‘non-market’ ie [sic] uncapped liability, which I will get them to do.”945 Despite Marano’s
assertion, a revised servicing agreement was not entered into until May 11, 2012 and the
indemnification cap remained in place.946

      10. 2011 Revisions To The Swaps/The Pipeline Letter Agreement

               a. Continued FDIC Objections To The Swaps

      FDIC Examiners continued to express concern about the MMLPSA and the Swaps,
suggesting that the combination of agreements “could be viewed as one extensive ‘cradle-to-
grave’ transaction for purposes of analysis under section 23A,” and that the “’overall
process’ . . . might be found to be ‘abusive’ to the Bank.”947 They further advised GMAC
Bank management that “the Bank’s efforts to cure the Apparent Violation with respect to the
‘total return swap’ for mortgage servicing rights between the Bank and GMAC [Mortgage]
were not considered successful.”948 The FDIC Examiners “had the impression that if not for
the various transactions between the Bank and ResCap, including the HFS portfolio and MSR
swap, ResCap would have failed.”949 They advised Ally Bank management that “due to the
repeat apparent violations of 23A and 23B they were considering imposition of civil money
penalties on the Bank Officers and Board members.”950 The FDIC recommended that the
Bank retain outside counsel “to obtain legal opinions on all affiliate transactions with respect


941   See Minutes of a Regular Meeting of the Board of Residential Capital, LLC, Dec. 7, 2010, at RC40018850–
      51 [RC40018729].
942   Privileged and Confidential Discussion Document as of December 7, 2010: Subservicing Agreement by and
      between GMACM and Ally, dated Dec. 7, 2010 [EXAM20131693].
943   Servicing Agreement, dated Dec. 31, 2010, ALLY_0018127 [ALLY_0018160] (executed by only GMAC
      Mortgage, not Ally Bank).
944   Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 22, 2010, at RC40018862
      [RC40018729].
945   E-mail from T. Marano (Dec. 22, 2010) [ALLY_0386265].
946   See Section V.B.11.c.
947   Minutes of a Special Joint Meeting of the Board of Directors and the Compliance Committee of Ally Bank,
      Nov. 11, 2010, at ALLY_PEO_0018507 [ALLY_PEO_0018332].
948   Id.
949   Id.
950   Id.

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to market terms[,] obtain legal opinions on corrective actions taken to cure the Apparent
Violation, and obtain legal review of the Total Return Swap to ensure that the Bank was
adequately protected from repurchase demands from the GSEs.”951

     In response, Ally Bank retained Arnold & Porter LLP to conduct a legal review of the
transactions and, later, retained Sandler O’Neill to conduct an economic analysis.

     As part of its engagement, Arnold & Porter LLP reviewed the MMLPSA, the MSR Swap
and the Pipeline Swap, as well as the Bank’s affiliate transaction policies with the goal of
confirming that the policies, the agreements and the related transactions complied with
sections 23A and 23B of the Federal Reserve Act, implemented by Regulation W.952

               b. April 2011 Swap Revisions

     In connection with Arnold & Porter LLP’s review,953 the parties entered into new
documentation of the Pipeline Swap and the MSR Swap dated as of April 1, 2011.954 The
parties entered into a single 2002 ISDA Master Agreement covering both Swaps,955 along with
a Schedule956 and a Credit Support Annex,957 each likewise applicable to both Swaps, and
separate confirmations for the Pipeline Swap958 and the MSR Swap.959 In addition, AFI at the
same time reaffirmed its October 5, 2010 Guarantee, extending the scope of the Guarantee to
include the Pipeline Swap and the 2008 MMLPSA.960 According to Arnold & Porter LLP, the
revised documentation contained “market terms, including terms related to events of default,
termination events, credit support, payments and collateral requirements, that are at least as




951   Id. at ALLY_PEO_0018508.
952   GMAC Mortgage, as a wholly owned subsidiary of AFI, qualified as an affiliate of Ally Bank for purposes of
      this statute, and Arnold & Porter LLP’s review was focused on the transactions between the Bank and
      GMAC Mortgage. See Letter from Arnold & Porter LLP to Board of Directors of Ally Bank (May 24, 2011),
      at EXAM00000137 [EXAM00000137].
953   Letter from Arnold & Porter LLP to Board of Directors of Ally Bank (May 24, 2011), at 4–5
      [EXAM00000137].
954   April 2011 Pipeline Swap Confirmation [ALLY_0041695]; April 2011 MSR Swap Confirmation
      [ALLY_0041799]
955   ISDA 2002 Master Agreement, dated Apr. 1, 2011 [RC00027962].
956   Amended and Restated Schedule to the 2002 ISDA Master Agreement, dated Apr. 1, 2011 [RC00027879].
957   ISDA Credit Support Annex to the Schedule to the Master Agreement, dated Apr. 1, 2011 [RC00027990].
958   April 2011 Pipeline Swap Confirmation [ALLY_0041695].
959   April 2011 MSR Swap Confirmation [ALLY_0041799].
960   Letter from J. Mackey to Ally Bank (Apr. 1, 2011) [RC00067937] (amending the agreements covered by the
      guarantee to included, inter alia, “the Confirmation of the Swap Relating to Loans in the Held For Sale
      Portfolio, dated April 1, 2011”).

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favorable to Ally Bank as those prevailing for comparable transactions with unaffiliated
market participants,”961 and was compliant with sections 23A and 23B of the Federal Reserve
Act and Regulation W.962

     The ResCap Board referred the revision of the Swaps to the Independent Directors for
separate consideration and for the purpose of obtaining a fairness opinion.963 Instead of a
fairness opinion, the Independent Directors arranged to have Goldin Associates provide a
summary of its “understanding of the changes” effected by the agreement revisions; Goldin
Associates was to “render no opinion, oral or written, regarding the [MSR Swap and the
Pipeline Swap arrangements], or any aspect thereof.”964 On June 14, 2011, the ResCap Board
(including the Independent Directors) gave unanimous written consent to the transaction.965

                   (1) The Pipeline Swap Confirmation

     As discussed in Section V.B.5, when the Pipeline Swap was amended to cover HFS
loans, the period covered for funded HFS loans was not revised to cover the period from
funding to sale. The April 2011 Pipeline Swap Confirmation cured this problem by providing
for valuations on each Business Day the loan remained on the Bank’s books (a “Valuation
Date”), and requiring payments in respect of the change in the loan’s value from the preceding
Valuation Date. 966

     However, the April 2011 Pipeline Swap Confirmation did not address the omission of
loans Ally Bank “originates” from the scope of the Swap. Instead, the “Loan Portfolio”
subject to the Swap continued to be limited to “Loans that [the Bank] has purchased or
committed to purchase . . . for [the Bank’s] Held for Sale portfolio.”967




961   Letter from Arnold & Porter LLP to Board of Directors of Ally Bank (May 24, 2011), at 16
      [EXAM00000137].
962   Id. at 16.
963   Minutes of Special Meeting of Board of Directors of Residential Capital, LLC, Apr. 1, 2011, at RC40018446
      [RC40018411] (referring the matter to a Special Committee of the Independent Directors).
964   Goldin Associates Presentation to The Committee of Independent Members of the Board of Directors of
      Residential Capital, LLC Regarding Proposed Amendments to the ISDAs and Other Documentation Related
      to Swap Transactions Between GMAC Mortgage, LLC and Ally Bank, dated Apr. 19, 2011, at 5
      [GOLDIN00130788].
965   Action by Written Consent of the Board of Directors [of] Residential Capital, LLC, dated June 14, 2011, at
      RC40018529–627 [RC40018411].
966   April 1, 2011 Pipeline Swap Confirmation, at 2–4 [ALLY_0041695] (definitions of Valuation Date, Funded
      Loan FMV Change, and Funded Loan FMV Change Amount). The Pipeline Swap previously had been
      settled on a monthly basis. July 2008 Pipeline Swap Schedule, part 6(a)(xii) [ALLY_0018237] (“Payment
      Date” is the fifth business day of each calendar month), (d) (requiring payments on the Payment Date).
967   April 1, 2011 Pipeline Swap Confirmation, at 2 [ALLY_0041695] (emphasis added).

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                   (2) The MSR Swap Confirmation

     The April 2011 MSR Swap Confirmation covered both the FMV Swap and the Net
Funding Swap, which previously were documented on separate Schedules.968 On the Net
Funding Swap, the Confirmation left the Interest Rate applicable to the Funding Fee
unchanged at LIBOR + 3.25%,969 which Ally Bank continued to justify based on the analysis
previously provided in a June 22, 2010 letter to the FDIC.970 For the Net Servicing Fee, the
language added in the 2010 Schedule regarding deductions for GSE repurchases971 was
retained in a slightly modified form.972 For both the Funding Fee and the Net Servicing Fee,
the Confirmation provided a mechanism for estimated payments on a daily basis, with a
monthly “true-up.”973 There remained no provision for payment to Ally Bank at termination
based on any calculation of run-off or the unamortized balance of amounts advanced to
GMAC Mortgage upon capitalization of MSRs.

      However, the most notable revisions in the April 2011 MSR Swap Confirmation are
changes to both the FMV Swap and the Net Servicing Fee provisions that bear on the issue of
the treatment of newly recognized MSRs.

    Under the FMV Swap, “FMV Change” (the measurement of the payment due under the
Swap) was redefined to mean:

                   For any Valuation Date, the sum of (i) the amount of the change,
                   if any, in the FMV Value from the immediately preceding
                   Valuation Date, and (ii) the MSR Amount for such Valuation
                   Date.974




968   April 2011 MSR Swap Confirmation, §2 [ALLY_0041799] (definitions of Funded Loan FMV Change Payer,
      Funded Loan FMV Change Amount, Funded Loan FMV Change and Valuation Date).
969   Id. § 2.
970   See Memorandum, April 1, 2011 ISDA 2002 Master Agreement, Amended and Restated Schedule to the
      Master Agreement, Transaction Reference #1, Transaction Reference #2, and ISDA Credit Support Annex to
      the Schedule to Master Agreement, dated Oct. 27, 2011, ¶ 6 [ALLY_0018216].
      Arnold & Porter LLP and Sandler O’Neill also defended the fee. See Letter from Arnold & Porter LLP to
      Board of Directors of Ally Bank (May 24, 2011), at 14–16 [EXAM00000137]; Sander O’Neill Report to the
      Board of Directors of Ally Bank Re: Analysis of Financial Terms of Certain Affiliate Agreements between
      Ally Bank and [GMAC Mortgage], dated Sept. 30, 2011, at 11, 14 [ALLY_0207866].
971   See Section V.B.9.d(2) (quoting 2010 provision).
972   April 2011 MSR Swap Confirmation, § 2 [ALLY_0041799] (definition of Actual Net Servicing Fee,
      clause (ii)).
973   Id. § 2.
974   Id. § 2 (definition of FMV Change).

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“FMV Value” in turn, was defined as:

                    For any Valuation Date, the most recent estimated valuation of
                    the mortgage servicing rights then owned by [the Bank],
                    inclusive of any MSR Amount. Such valuation shall be based
                    upon, among other things, techniques consistent with [GMAC
                    Mortgage’s] internal financial and risk management processes
                    for financial statement and regulatory filing purposes.975

Finally, “MSR Amount,” a new concept introduced in the April 2011 MSR Swap
Confirmation, was defined as:

                    For any Valuation Date, as applicable, (i) the net loss recorded
                    by [the Bank] in respect of the sale of mortgage servicing rights
                    then on [the Bank’s] general ledger, taking into account any
                    gain on new origination and capitalization of mortgage
                    servicing rights, or gain or loss on the disposition thereof or in
                    respect of the prepayment of any related mortgage loans, or
                    (ii) the net gain recorded by [the Bank] in respect of the sale of
                    mortgage servicing rights then on [the Bank’s] general ledger,
                    taking into account any gain on new origination and
                    capitalization of mortgage servicing rights, or gain or loss on
                    the disposition thereof or in respect of the prepayment of any
                    related mortgage loans.976

Notably, eliminated from these definitions is any reference to the “FAS 156 mark to market”;
the FMV Change applies simply to changes in the value of the Bank’s mortgage servicing
rights, regardless of whether the change reflects a “FAS 156 mark to market.” On the other
hand, the “MSR Amount” provisions, which were introduced because Ally Bank had sold
MSR assets and the parties wanted to address the application of the FMV Swap in that
circumstance,977 do introduce the concept of “gain” on MSR capitalization.

The Net Servicing Fee provisions were also revised. As revised, the key term in defining how
servicing-fee payments to GMAC Mortgage will be calculated is “Actual Net Servicing Fee,”
which is defined as follows:

                    For any Calculation Period, (x) the sum of the amounts posted to
                    all servicing and mortgage servicing rights related income
                    statements accounts in the general ledger of [the Bank] to



975   Id. § 2 [ALLY_0041799] (definition of FMV Value).
976   Id. § 2 [ALLY_0041799] (definition of MSR Amount) (emphasis added).
977   Int. of J. Young, Mar. 15, 2013, at 87:4–24.

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                    include (i) any associated servicing expenses paid or incurred, as
                    is customary for normal servicing of residential mortgage loans
                    and (ii) the losses, liabilities, costs and expenses (collectively,
                    “Losses”) incurred by [the Bank] as owner of mortgage
                    servicing rights, including without limitation Losses related to
                    any agency loan repurchase request, indemnification or make-
                    whole agreement, to the extent such Losses remain
                    unreimbursed by [GMAC Mortgage].978

Thus, the definition of Actual Net Servicing Fee revised the Net Servicing Fee language,
which had referenced “amounts collected or earned by [the Bank] (i.e., normal servicing fees
and ancillary income),” abandoning the reference to “normal servicing fees and ancillary
income.”

     Cortese and Young offered differing accounts of these changes. Cortese, as noted in
Section V.B.9.b(4), believed that the payments of the capitalized value of Bank-originated
loan MSRs were being exchanged under the FMV Swap. He explained that the April 2011
Confirmation FMV Change/MSR Amount reference to “any gain on new origination and
capitalization of MSRs” was the result of the accountants telling the Capital Markets teams
involved in drafting the revised swap that it should be “specific to the gain or loss rather than
what changed in the balance sheet.”979 The accountants told the “authors how they were doing
it” and the authors “put together language that coincided with how [the accountants] were
doing it.”980

      Young, however, maintained that the revisions in the Actual Net Servicing Fee
definition, focusing on “amounts posted to all servicing and mortgage servicing rights related
income statements accounts,” make clear that it is the vehicle for the exchange of the gain
(income) on capitalization of Bank-owned MSRs.981 Young correctly noted that the “gain”
reference in the FMV Swap occurs only in connection with provisions governing the sale of
MSRs;982 he explained that the addition to the FMV Swap language applies only where the
Bank has sold MSRs, requiring adjustment of the FMV Change based on the gain or loss
realized in such sales.983 Young asserted the language was added as “belt and suspenders” and
the gain remained covered by the Actual Net Servicing Fee as well.984 This explanation


978   April 2011 MSR Swap Confirmation, § 2, at 7 [ALLY_0041799] (definition of Actual Net Servicing Fee)
      (emphasis added).
979   Int. of J. Cortese, Mar. 7, 2013, at 37:24–38:13 (emphasis added).
980   See id.
981   Int. of J. Young, Mar. 15, 2013, at 93:2–94:18.
982   Id. at 79:8–80:2.
983   Id. at 87:4-87:24.
984   Id. at 93:8–93:19.

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suggests that the gain would be included in the calculations of both the FMV Change and the
Actual Net Servicing Fee, though Young denied that there was any intent to double-count the
gain in this fashion.985

     Indeed, if the April 2011 Swap Confirmation’s Actual Net Servicing Fee definition—
“amounts posted to all servicing and mortgage servicing rights related income statements
accounts”—is read as Young argues, then it poses an even larger “double counting” problem: If
the definition extends beyond “normal servicing fees and ancillary income” to embrace any and
all amounts posted to the Bank’s servicing rights related income statement accounts, then it
includes even the items Young agrees are captured by the FMV Change provisions, the mark-to-
market adjustments for MSRs that already have been capitalized on the Bank’s books. These
adjustments to the value of previously recognized MSRs are themselves recorded in the Bank’s
mortgage servicing rights related income statement accounts, and would consequently trigger
payment under both the Actual Net Servicing Fee definition (as Young reads it) and the FMV
Change definition.986

     Exhibit V.B.10.b(2) below summarizes the total additions to the value of Ally Bank’s MSR
asset attributable to correspondent loans and purchased MSRs, which were not paid to GMAC
Mortgage under the MSR Swap:




    Of the $1.7 billion total additions, $402 million related to 2007 and 2008, before the 2009
Bank Transaction, while $397 million related to the period after the April 2011 MSR Swap
Confirmation.


985   Id. at 93:20–94:23.
986   Accounting Policy 2451, Mortgage Servicing Rights, Sept. 1, 2011, at RC40000816 [RC40000802]; Mortgage
      Segment Legacy YTD Consolidating Trial Balance (Dec. 31, 2011) [EXAM00228758].

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                      (3) The Credit Support Annex

     The Credit Support Annex addressed concerns about Ally Bank’s credit exposure to
GMAC Mortgage by requiring that collateral be posted. Though obligations under the Swap
could result in payments being due by either party, the collateral requirements imposed
granted greater security to Ally Bank. Specifically, for purposes of calculating the collateral
amount required to be posted, the amount was to be calculated by projecting the amount that
would be payable if the transaction were terminated at the time and by whom (the Bank or
GMAC Mortgage), and then adjusting that amount in favor of the Bank based on an
“independent amount” calculated using certain metrics in the underlying transaction (the MSR
Swap FMV Amount, Pipeline Swap Funded Loan Amount and Pipeline FMV Change
Amounts).987 Further, Ally Bank had the power, in its “reasonable discretion,” to change the
“independent amount” in the event of a material change in the financial condition of GMAC
Mortgage or AFI. 988 Ally Bank invoked this right in February 2012, obtaining $40 million in
additional collateral posted by AFI.989

                   c. Sandler O’Neill’s Review

     Later that year, the Bank Board also retained Sandler O’Neill to review the terms of the
MMLPSA, the MSR Swap, the Pipeline Swap, and the Broker Agreement. In February 2012,
Sandler O’Neill’s retention was amended to include an analysis of the Bank’s exposure to
counterparty credit risk with respect these agreements. On February 28, 2012, Sandler O’Neill
presented its report to the Bank Board.990

     Starting with the swaps, like Arnold & Porter LLP, Sandler O’Neill reviewed the revised
April 1, 2011 documentation for the MSR Swap and the Pipeline Swap. Based on that review,
Sandler O’Neill observed that GMAC Mortgage through the swap protected the Bank against
changes in market value, changes in interest rates, credit losses, prepayments and illiquidity of
the MSRs as well as the underlying loan portfolio. GMAC Mortgage also absorbed servicing
costs and losses incurred by the Bank in connection with its servicing activities. Sandler
O’Neill noted that these protections were customized for the Bank, not typically seen in
arm’s-length transactions and, if available in the market, would only be available at
considerable expense.991
987   Credit Support Annex, dated Apr. 1, 2011, ¶ 13(b)(iv)(A) [RC00027990]; April 2011 Pipeline Swap
      Confirmation, §5 [ALLY_0041695]; April 2011 MSR Swap Confirmation, §5 [ALLY_0041799].
988   Credit Support Annex, dated Apr. 1, 2011, ¶ 13(b)(iv)(A) [RC00027990]; April 2011 Pipeline Swap
      Confirmation, §5 [ALLY_0041695]; April 2011 MSR Swap Confirmation, §5 [ALLY_0041799].
989   E-mail from J. Young to T. Marano, S. Abreu, J. Whitlinger, and T. Hamzehpour (Feb. 20, 2012)
      [EXAM00076116].
990   Sandler O’Neill Report to the Board of Directors of Ally Bank Re: Analysis of Financial Terms of Certain
      Affiliate Agreements between Ally Bank and GMAC Mortgage LLC, dated Feb. 28, 2012
      [ALLY_PEO_0084709].
991   Id. at 19.

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     As to the Bank’s counterparty risk to GMAC Mortgage, Sandler O’Neill stated that the
Bank’s risk was significantly mitigated by several features of the April 1, 2011
documentation, including: (1) the Bank’s ability to select the assets covered by the swap;
(2) the daily mark to market of swap exposures as well as the daily settlement requirement;
(3) the Bank’s ability to terminate the swaps, without cause, on 30 days’ notice; and (4) the
Bank’s ability to require additional collateral as the result of a credit deterioration of GMAC
Mortgage or AFI.992

      In evaluating the terms of the MSR Swap and the Pipeline Swap, Sandler O’Neill
compared their provisions to those found in the Citibank MSR Loan Agreement, under which
Citibank received a financing fee of LIBOR + 6% and maintained a security interest in the
servicing rights.993 Sandler O’Neill opined that, while the fee paid to the Bank under the MSR
Swap was lower, Ally Bank’s ownership of the MSRs under the MSR Swap protected the
Bank “against any declines in market value, changes in interest rates, credit losses,
prepayments and illiquidity with respect to the MSR assets.”994 Sandler O’Neill concluded
that, had the MSR Swap been structured more like the Citibank MSR Loan Agreement, the
Bank would be able to obtain these protections only through a series of hedges “at
considerable cost” to the Bank.995 After highlighting several advantages to the Bank under the
MSR Swap compared to the Citibank MSR Loan Agreement, Sandler O’Neill noted that it
considered other transactions with similar residential mortgage risk, but “[c]omparable
transactions are not readily available due to the unique terms of the MMLPSA and related
swaps.”996

                   d. The December 2011 Pipeline Letter Agreement

     The MMLPSA had always required GMAC Mortgage to pay the purchase price for loans
upon closing.997 In 2011, a review determined that there sometimes was a delay of more than a
day between the time loans were transferred to GMAC Mortgage and receipt of payment by
Ally Bank.998 ResCap personnel explained that this was not a recent development, or a
reflection of ResCap’s financial difficulties, but a product of normal delays in the




992   Id. at 31.
993   Id. at 33.
994   Id. at 34.
995   Id.
996   Id. at 45.
997   See 2001 MMLPSA, § 2.4(c) [ALLY_0018253]; 2006 MMLPSA, § 2.4(c) [ALLY_0018291]; 2007
      MMLPSA, § 2.4(c) [ALLY_0018275]; 2008 MMLPSA, § 2.1 [ALLY_0201210].
998   Letter from Arnold & Porter LLP to Board of Directors of Ally Bank (May 24, 2011), at 2
      [EXAM00000137].

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securitization process and receipt by ResCap of payment for the loans.999 Nevertheless, such a
delay was considered to constitute an extension of credit by the Bank to GMAC Mortgage;
bank regulatory requirements required cash collateral for such obligations.1000

      To address this issue, AFI, GMAC Mortgage Group, LLC, ResCap and GMAC Mortgage
entered into a December 5, 2011, letter agreement (the Pipeline Letter Agreement).1001 ResCap
itself lacked the cash to provide the requisite collateral.1002 GMAC Mortgage Group LLC
(ResCap’s immediate parent) had begun posting cash to collateralize GMAC Mortgage’s
obligations, using funds borrowed from AFI.1003 In the Pipeline Letter Agreement, GMAC
Mortgage Group and AFI agreed to continue to post up to $4 billion in cash collateral to
satisfy bank regulatory requirements, and to “use commercially reasonable efforts to cause
Ally Bank to continue to sell mortgage loans” under the MMLPSA for “not less than thirty
(30) days.”1004 ResCap and GMAC Mortgage agreed, inter alia, that GMAC Mortgage
(1) would take steps to expedite the pooling of loans into Mortgage-Backed Securities
(MBSs), such as delivering loan schedules and other information necessary to facilitate
pooling to the pertinent GSE contemporaneously with transfer of the loans under the
MMLPSA; (2) arrange for the GSEs to wire MBSs directly to an agreed-upon account; and
(3) grant Ally Bank and GMAC Mortgage Group, LLC a security interest in the loans and any
proceeds.1005




999   Int. of C. Dondzila, Sept. 27, 2012, at 257:5–262:15.
1000 Letterfrom Arnold & Porter LLP to Board of Directors of Ally Bank (May 24, 2011), at 2
      [EXAM00000137].
1001 Pipeline Letter Agreement [ALLYKE000000579]. While the Pipeline Letter Agreement recites that it has

      been the subject of extensive negotiations involving Ally Bank, and that it memorializes the basis on which
      the Ally Bank is prepared to continue loan sales under the MMLPSA, id. at 1, Ally Bank is not a party to the
      Pipeline Letter Agreement.
1002 See Section III.J (discussing ResCap’s financial posture at this juncture).

1003 Letterfrom Arnold & Porter LLP to Board of Directors of Ally Bank (May 24, 2011), at 2
      [EXAM00000137]; Pipeline Letter Agreement, ¶ A [ALLYKE000000579].
1004 Pipeline Letter Agreement, ¶ A(3), 4 ¶ B [ALLYKE000000579].

1005 Id. at ¶¶ A(1), (2), (4), (5).



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     Following consideration by a Special Committee of the Independent Directors, the
Pipeline Letter Agreement was approved at the December 5, 2011 meeting of the ResCap
Board,1006 subject to receipt of a fairness opinion from Goldin Associates1007 and an opinion of
counsel from Morrison & Foerster required to be delivered to AFI and GMAC Mortgage
Group.1008

     11. 2012 Terminations/Revisions

     Just before ResCap filed its bankruptcy petition, the parties entered into an agreement
terminating the MSR Swap and the Pipeline Swap, and entered into an Amended and Restated
MMLPSA. These matters were apparently discussed with the ResCap Board in an April 30,
2012 ResCap Board meeting, but in-house counsel (with the concurrence of separate counsel
for the Independent Directors) advised that no fairness opinion was required, at least for the
terminations, and it does not appear that the agreements were voted on or otherwise approved
by the Independent Directors or the ResCap Board.1009

               a. The Termination Agreement

     GMAC Mortgage and Ally Bank entered into a Termination Agreement dated April 30,
2012, terminating both the Pipeline Swap and the MSR Swap.1010 The Termination Agreement
provided that amounts due for prior periods and for the period ending on the April 30, 2012
termination date would not be discharged by termination,1011 and agreed to the return of all
posted collateral.1012 The parties further agreed to negotiate a “termination payment” within
seven days.1013 The parties thereafter agreed that the Bank owed GMAC Mortgage a
termination payment of $51.048 million, comprising true-up payments under the MSR Swap




1006 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Dec. 5, 2011, at RC40018718–19,

    RC40018722–23 [RC40018411]; see also Minutes of a Special Meeting of the Board of Residential Capital,
    LLC, Dec. 2, 2011, at RC40018716–17 [RC40018411].
1007 Opinion Letter from Goldin Associates to the Board of Directors of Residential Capital, LLC (Dec. 5, 2011)

    [GOLDIN00000683].
1008 Letter from Morrison & Foerster, LLP to AFI, GMAC Mortgage Group, and Ally Bank (Dec. 5, 2011)

    [ALLYKE000000589]. The letter opines as to the good standing of ResCap and GMAC Mortgage, the due
    authorization of the Pipeline Letter Agreement, the lack of any need for additional authorizations or consents,
    and similar matters.
1009 Draft
        Minutes of a Special Meeting of the Board of Residential Capital, LLC, Apr. 30, 2012, at 2–3
    [EXAM11088895].
1010 Termination Agreement, dated Apr. 30, 2012, Preamble, ¶ 2 [ALLY_0224353].

1011 Id. ¶ 2(a).

1012 Id. ¶ 2(b).

1013 Id. ¶ 2(c).



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and the Pipeline Swap through the date of termination totaling $18.2 million and the return of
$32.8 million in collateral previously posted by GMAC Mortgage.1014 Ally Bank paid this
amount to GMAC Mortgage on May 4, 2012.1015

               b. The May 2012 Amended And Restated MMLPSA

     Shortly before ResCap’s bankruptcy filing, GMAC Mortgage and Ally Bank entered into
an “Amended and Restated” MMLPSA dated May 1, 2012 (the “2012 MMLPSA”).1016 The
MMLPSA amendments were presented to the ResCap Board at an April 30, 2012 meeting.1017
In the months preceding the bankruptcy filing, Ally Bank obtained the necessary approvals
and made the other arrangements necessary to become a direct seller of loans to Fannie Mae
and Freddie Mac.1018 Accordingly, the 2012 MMLPSA provides for the purchase and sale of
loans eligible for securitization by Ginnie Mae, and not of Fannie Mae or Freddie Mac
loans.1019

      Under the 2012 MMLPSA, the Purchase Price for Mortgage Loans is:

                   the Adjusted Carrying value of such Mortgage Loan as of the
                   date such Mortgage Loan is funded, plus interest accrued on
                   such Mortgage Loan from the date of funding through Closing
                   Date, broker fees and Underwriting Fees and minus prepaid
                   interest on such Mortgage Loan payable to Purchaser.1020

Adjusted Carrying Value is defined to mean

                   with respect to any Mortgage Loan and any date of
                   determination, the adjusted carrying value of such Mortgage
                   Loan on Seller’s books on such date calculated by Seller to be
                   the unpaid principal balance of such Mortgage Loan on such
                   date, plus any premium at origination and any servicing released
                   premium, minus any discount at origination, and without
                   consideration of any fair value adjustment, to the extent the


1014 Affiliate Swap Termination Payment, dated May 4, 2012 [EXAM00233016].

1015 Account Statement Detail Archive, dated Apr. 15, 2013 [EXAM00345836].

1016 2012 MMLPSA [RC00027892].

1017 Draft
        Minutes of a Special Meeting of the Board of Residential Capital, LLC, Apr. 30, 2012, at 2–3
    [EXAM11088895]. The Examiner has found no evidence that the matter was approved by the ResCap Board.
1018 Detailed Analysis of Ally Bank’s Affiliate Agreements, dated June 12, 2012, at 9 [SOP0000380].

1019 2012 MMLPSA, § 2.1 [RC00027892]. In addition, the MMLPSA provides for the sale of loans produced by

    USAA Federal Savings Bank, a Texas-based bank affiliated with United Services Automobile Association.
    Id. § 2.1.
1020 Id. § 1.31.



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                     Mortgage Loan is subject to a fair value election, or LOCOM
                     [lower of cost or market] adjustment to the extent the Mortgage
                     Loan is not subject to a fair value election.1021

Thus, with the termination of the Pipeline Swap, the 2012 MMLPSA reverted to cost-based
pricing, specifically excluding fair-value and LOCOM adjustments from calculation of the
purchase price.

        Under the 2012 MMLPSA, Ally Bank makes a loan-level representation and warranty
that:

                     each Mortgage Loan sold to Purchaser pursuant to this
                     Agreement is eligible and insurable by the FHA, the VA or the
                     USDA, and will remain eligible and insurable by the FHA, the
                     USDA or the VA for purposes of Ginnie Mae pool certification
                     until the issuance of a valid and binding mortgage insurance
                     certificate or guaranty.1022

Ally Bank further agreed to repurchase any ineligible or uninsurable loan (subject to a right to
promptly cure any curable issue).1023

     Finally, the 2012 MMLPSA may be terminated by either party without cause on 30 days’
notice.

                  c. 2012 Amendment And Restatement Of Servicing Agreement

     Ally Bank provided notice to GMAC Mortgage that it would not renew the Original
Servicing Agreement on April 19, 2012. As a result, the Original Servicing Agreement would
have expired pursuant to its terms on August 21, 2012.1024 However, pursuant to negotiations
described in Section V.B.9, the Original Servicing Agreement was replaced with the A&R
Servicing Agreement dated May 11, 2012 as discussed at Section V.C.

     12. Analysis Of The Financial Results Under The Derivative Agreements

     The Examiner’s Financial Advisors have analyzed the economic impact of the Pipeline
Swap and the MSR Swap, as described in further detail below. First, on the Pipeline Swap,
Ally Bank paid GMAC Mortgage a net total of $120.4 million during the period that the



1021 Id. § 1.1.

1022 Id. § 2.5(b).

1023 Id. § 2.5(c).

1024 See July 26, 2012, Hearing Transcript [Docket No. 942] at 20–21. The expiration date was extended at the

    request of the Bankruptcy Court to August 24, 2012.

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Pipeline Swap was settled in cash from October 2008 through termination in April 2012.1025
However, these payments are not reflective of the economics of the Pipeline Swap because the
daily Pipeline Swap entries were simply reversed upon sale of the related loan to GMAC
Mortgage, resulting in repayment under the Pipeline Swap of any amounts that had been
previously paid by either party with respect to that loan. The best evidence of the actual
impact of the Pipeline Swap is GMAC Mortgage’s financial statements, which evidence net
losses of $32.7 million on the Pipeline Swap from its inception in 2004 through 2011.1026

     Second, as to the MSR Swap, Ally Bank paid GMAC Mortgage a net total of $699.7
million over the duration of the MSR Swap from September 2007 through termination in April
2012.1027 GMAC Mortgage reported income related to the MSR Swap of approximately this
same amount in its financial statements from 2007 through 2011.1028

     GMAC Mortgage also hedged its pipeline and MSR risk, including risk associated with
both loans and MSRs held by the Bank and those held by GMAC Mortgage itself. The
Debtors’ accounting and financial records do not allow the reliable allocation of the hedge
results between those assets covered by the Pipeline Swap and the MSR Swap and those not
subject to the Swaps. However, the overall hedge results and other analyses produced by the
Debtors indicate that GMAC Mortgage did not incur hedging losses that would materially
affect the overall economic impact of the swaps, and likely earned gains on these hedges.1029

     Accordingly, the Examiner concludes that the evidence supports the proposition that
GMAC Mortgage received a net benefit on the Pipeline Swap, the MSR Swap and the market
hedges relating thereto when assessing the entirety of the economics as implemented by the
parties.




1025 ResCap—Pipeline Swap Template [EXAM00231094].

1026 GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2005

   and 2004, at 52 [EXAM00231553]; GMAC Mortgage, LLC Consolidated Financial Statements, as of and for
   the years ended December 31, 2007 and 2006, at 51 [EXAM00232043]; GMAC Mortgage, LLC
   Consolidated Financial Statements, as of and for the years ended December 31, 2009 and 2008, at 88
   [EXAM00234189]; GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the Years
   Ended December 31, 2011 and 2010, at 66 [EXAM00234281].
1027 ResCap—MSR Cash Summary [EXAM00231039].

1028 GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2008

   and 2007, at 72 [EXAM00234112]; GMAC Mortgage, LLC Consolidated Financial Statements, as of and for
   the years ended December 31, 2010 and 2009, at 61 [EXAM00234350]; GMAC Mortgage, LLC
   Consolidated Financial Statements, as of and for the years ended December 31, 2011 and 2010, at 66
   [EXAM00234281].
1029 Meeting with J. Whitlinger in Ft. Washington, P.A. (Mar. 29, 2013).



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             a. The Pipeline Swap

                 (1) Financial Results Under The Pipeline Swap

     Ally Bank and GMAC Mortgage records reflecting the financial results of the Pipeline
Swap show that the net result over the life of the Pipeline Swap was generally neutral from a
financial standpoint, before consideration of related hedges. As mentioned above, the Pipeline
Swap applied only to the Bank’s HFI portfolio before July 1, 2008. ResCap produced financial
records related to the Pipeline Swap from its inception in October 2004 through termination in
April 2012, with certain exceptions. The Pipeline Swap was settled through intercompany
accounts, rather than through the exchange of cash, before October 2008.1030 The Debtors’
internal records initially extend from October 2004 to March 2006, and then resume from May
2007 to March 2008, with the intervening time period corresponding to the gap in the periods
covered by the written agreements that have been produced.1031 These financial records
showed activity under the HFI Pipeline Swap peaking in March through May 2005 and
declining significantly hereafter, with a net benefit to GMAC Mortgage from the Pipeline
Swap of approximately $2.4 million,1032 as shown in Exhibit V.B.12.a(1)—1 below.




1030 Accrual v. Cash Settlement [EXAM00339946].

1031 See Section V.B.4 (discussing gap in documentation of Pipeline Swap).

1032 Bank HFI Swap Analysis [EXAM00344897]; Bank Flow HFI Portfolio (May 2007–Mar. 2008) [EXAM00344891;

   EXAM00344892; EXAM00344893; EXAM00344894; EXAM00344895; EXAM00344896; EXAM00344897;
   EXAM00344898; EXAM00344899; EXAM00344900; EXAM00344901; EXAM00344902].

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     The Examiner’s Financial Advisors undertook certain efforts to validate the amounts
provided by the Debtors. First, reference to GMAC Mortgage’s financial statements indicated
gains of $3.7 million related to the Pipeline Swap for 2004 through 2006,1033 as compared to
$2.8 million reflected in Exhibit V.B.12.a(1)—1 above. Intercompany accounting and period-
end true-ups may account for this 32% discrepancy, but it appears no such documentation is
available.1034

      More generally, ResCap provided accounting data for August and September 2008 to
demonstrate the method utilized for settlement of the Pipeline Swap through intercompany
accounts.1035 GMAC Mortgage recorded the total mark-to-market amount for pipeline and
inventory loans as an accrual at month-end. GMAC Mortgage made another entry that same
day to reclassify the portion of the mark-to-market adjustment related to the Bank through an
intercompany entry, which reflected the settlement of the Pipeline Swap. For example, the
total mark-to-market adjustment in August 2008 for pipeline and inventory loans before hedge
results was $57.3 million, inclusive of $40.8 million attributable to Bank loans subject to the
Pipeline Swap. Therefore, GMAC Mortgage recorded an intercompany receivable from the
Bank for $40.8 million to reflect amounts due related to the increase in the value of the Bank’s
loans to reflect settlement of the Pipeline Swap through intercompany accounts.1036 The
Pipeline Swap was settled in cash from October 2008 through termination in April 2012.1037
ResCap’s records reflecting cash payments related to the Pipeline Swap for this period showed
a net benefit to GMAC Mortgage from the Pipeline Swap of approximately $120.4 million,1038
as shown in Exhibit V.B.12.a(1)—2 below.1039




1033 GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2005

    and 2004, at 52 [EXAM00231553]; GMAC Mortgage, LLC Consolidated Financial Statements, as of and for
    the years ended December 31, 2007 and 2006, at 51 [EXAM00232043].
1034 According to Whitlinger, Debtors are unable to provide the information necessary to reconcile the amounts

    included in Exhibit V.B.12.a(1)—1 above to the general ledger. Meeting with J. Whitlinger in Ft.
    Washington, P.A. (Mar. 29, 2013).
1035 Accrual v. Cash Settlement [EXAM00339946].

1036 Id.

1037 ResCap—Pipeline Swap Template [EXAM00231094].

1038 Id.

1039 Ally Bank also provided records reflecting approximately $106.6 million in cumulative net cash payments

    related to the Pipeline Swap made by the Bank to GMAC Mortgage for the period October 2008 to April
    2012 but could not provide sufficient information to permit reconciliation with the ResCap data. Mortgage
    Division, Affiliate Transaction Summary [ALLY_0171134].

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     The cash payments are not truly reflective of the economics of the Pipeline Swap, however,
because, as discussed in Section V.B.5.c, the parties’ post-July 1, 2008 accounting for the
MMLPSA and for the Pipeline Swap did not correspond to the terms of the agreements (though
in combination they reached the same economic effect). While changes in loan value were
tracked under the Pipeline Swap, upon the sale of the loan to GMAC Mortgage the daily Pipeline
Swap entries were simply reversed, resulting in repayment under the Pipeline Swap of any
amounts that had been previously paid by either party with respect to that loan.1040 The loan was
then purchased at the Bank’s “cost basis” as historically defined, effectively shifting the impact
of any subsequent changes in market value to GMAC Mortgage. The records provided by the
Debtors were insufficient to isolate the “fair value exchange at sale” entry reversing the daily
Pipeline Swap entries that would reflect the economics from lock to sale.1041




1040 Loan Summary [EXAM00229653]; Loan Summary [EXAM00233017]; Examiner Loan Selections 03 11 13

   [EXAM00339939]; Examiner Loan Selections 04 15 13 [EXAM00345279].
1041 ResCap provided detailed information on 867,084 loans that were subject to the Pipeline Swap for the period

   from 2009 through 2012. Journal Entry Level Detail of Transactions [EXAM00338648; EXAM00338649;
   EXAM00338650; EXAM00338651; EXAM00338652; EXAM00338653; EXAM00338654; EXAM00338655;
   EXAM00338656; EXAM00338657; EXAM00338658; EXAM00338659; EXAM00338660; EXAM00338661;
   EXAM00338662]. Upon review and analysis, the information lacked certain components and key inputs, such
   as lock pull-through rate amounts, rendering the data inconclusive.

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     Consequently, the most reliable information regarding the overall economic impact of the
Pipeline Swap appears to be the related party footnotes to GMAC Mortgage’s financial
statements. This information reflects losses of $32.7 million on the Pipeline Swap from its
inception in 2004 through 2011, including losses of $1.5 million during the period from 2009
through 2011 when ResCap no longer owned an interest in IB Finance.1042 This amount was
reported as part of the Gain on Sale of Mortgage Loans, Net line item in the income statement of
GMAC Mortgage.1043 Exhibit V.B.12.a(1)—3 indicates that the annual gain or loss recognized
by GMAC Mortgage on the Pipeline Swap averaged 7.6% and ranged from -23.5% to 116.3% of
the amounts reflected on the GMAC Mortgage income statement for this line item. The Exhibit
also demonstrates the shift of gain/loss related to HFS loans from the Correspondent Agreement
in earlier periods to the Pipeline Swap in later periods.




1042 GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2005

   and 2004, at 52 [EXAM00231553]; GMAC Mortgage, LLC Consolidated Financial Statements, as of and for
   the years ended December 31, 2007 and 2006, at 51 [EXAM00232043]; GMAC Mortgage, LLC Consolidated
   Financial Statements, as of and for the years ended December 31, 2009 and 2008, at 88 [EXAM00234189];
   GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the Years Ended December 31, 2011
   and 2010, at 66 [EXAM00234281].
1043 GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2009

   and 2008, at 88 [EXAM00234189].

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     The Gain on Mortgage Loans, Net line item reflects mortgage loan purchase and sale
activity between GMAC Mortgage and the Bank of $517 million in 2009, $299 million in 2010,
and $163 million in 2011.1044 The majority of this gain resulted from GMAC Mortgage’s
purchase of loans from the Bank and sale of those loans to third-party investors pursuant to the
terms of the Pipeline Swap in conjunction with the MMLPSA.1045 GMAC Mortgage activity that
was independent of the Bank had accounted for a majority of the gain on sale of mortgage loans
before implementation of the Broker to Bank initiative in 2009, as shown in Exhibit
V.B.12.a(1)—4 below:




1044 GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2009

   and 2008, at 5 [EXAM00234189]; GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the
   Years Ended December 31, 2011 and 2010, at 5 [EXAM00234281].
1045 GMAC Mortgage, LLC, Notes to Consolidated Financial Statements for the years ended December 31, 2010

   and 2009, at EXAM00234358 [EXAM00234350].

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                  (2) Financial Results Of GMAC Mortgage’s Market Pipeline Risk Hedging

     GMAC Mortgage also hedged its pipeline risk in the market, including the risk absorbed
through the Pipeline Swap.1046 GMAC Mortgage hedged at the portfolio level, which included all
of GMAC Mortgage’s pipeline risk, and did not allocate hedges to specific Bank loans covered
under the Pipeline Swap. The results of GMAC Mortgage’s hedging activity, the purpose of
which was to neutralize market risk, are an important consideration in assessing the economics
of the Pipeline Swap.

     GMAC Mortgage reported the results of its pipeline and inventory trading activity,
including hedging, through the Trading P&L, which ties to GMAC Mortgage’s general
ledger.1047 As illustrated in Exhibit V.B.12.a(2) below, the total trading P&L impact for January
2006 through April 2012 was a $1.5 billion gain,1048 after adjustment.




1046 Int. of A. Celini, Feb. 18, 2013, at 116:18–21.

1047 The Trading P&L was a component of the Pipeline Hedged Report, a daily summary of pipeline and inventory

    trading results and related financial information. Pipeline Hedged Report Detail, dated Apr. 24, 2012
    [EXAM00000916].
1048 2006 Monthly Sum of Sum [EXAM00338641]; 2007 Monthly Sum of Sum [EXAM00338642]; 2008 Monthly

    Sum of Sum [EXAM00338643]; 2009 Monthly Sum of Sum [EXAM00338644]; 2010 Monthly Sum of Sum
    [EXAM00338645]; 2011 Monthly Sum of Sum [EXAM00338646]; 2012 Monthly Sum of Sum
    [EXAM00338647].

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     The Debtors’ accounting and financial records do not allow the reliable allocation of the
hedge results to loans subject to the Pipeline Swap. The overall hedging gains are likely
indicative of hedging gains related to the Pipeline Swap, according to the Debtors’
management.1049 Based on the available evidence, it appears that GMAC Mortgage did not
incur hedging losses that would materially affect the overall economic impact of the Pipeline
Swap, and likely earned offsetting gains on these hedges.1050

             b. The MSR Swap

                 (1) Financial Results Under The MSR Swap

     Ally Bank and GMAC Mortgage records reflecting the financial results of the MSR Swap
show that the net result over the life of the MSR Swap was substantially in GMAC
Mortgage’s favor, before consideration of related hedges.1051 As described above, GMAC
Mortgage and Ally Bank entered into a number of revisions and amendments to the MSR
Swap and the related documentation between its inception in August 2007 and its termination
in April 2012. While certain terminology changed over time, the substance of the components
comprising the calculation of payments between the parties generally did not change and
included the following:

                 (1) The gain or loss on servicing rights—GMAC Mortgage received payments
                     from Ally Bank for the gain related to the creation of MSRs and other
                     servicing related assets. The Bank recognized this gain, which was recorded
                     on the income statement as a component of the line item Gain on Sale of
                     Mortgage Loans to Affiliate, when it capitalized the assets at the time of
                     sale of the underlying loans to GMAC Mortgage. As discussed above, loans
                     sold by Ally Bank created two separate types of gains that were transferred
                     to GMAC Mortgage—gain on originated MSRs (referred to as “OMSRs”)
                     and gain on excess servicing rights. While Bank-originated loans resulted
                     in gains from both MSRs and excess servicing rights, correspondent loans
                     resulted in gains only from excess servicing rights because the purchase
                     price the Bank paid to the correspondent included an SRP corresponding to
                     the MSR value.
1049 Meeting with J. Whitlinger in Ft. Washington, P.A. (Mar. 29, 2013).

1050 Id. See 2006 Monthly Sum of Sum [EXAM00338641]; 2007 Monthly Sum of Sum [EXAM00338642]; 2008

   Monthly Sum of Sum [EXAM00338643]; 2009 Monthly Sum of Sum [EXAM00338644]; 2010 Monthly
   Sum of Sum [EXAM00338645]; 2011 Monthly Sum of Sum [EXAM00338646]; 2012 Monthly Sum of Sum
   [EXAM00338647].
1051 Ally Bank provided records reflecting approximately $585.2 million in cumulative net cash payments related

   to the MSR Swap made by the Bank to GMAC Mortgage for the period January 2008 to April 2012 but did
   not provide sufficient information for reconciliation with the ResCap data. Mortgage Division, Affiliate
   Transaction Summary [ALLY_0171134]. The data provided by the Bank included monthly information
   presented to the Ally Bank Board for the period November 2007 to April 2012; see also ResCap—MSR Cash
   Summary [EXAM00231039]. ResCap provided a detailed schedule for the period September 2007 to
   April 30, 2012.

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                 (2) The change in value of MSR assets after origination—GMAC Mortgage
                     received or made payments to Ally Bank based on changes in the fair
                     market value of the MSR assets on the Bank’s balance sheet. These fair
                     market value changes were generally due either to changes in interest rate
                     assumptions, which could result in either gains or losses, or to the
                     amortization expense recognized each month as a result of servicing fees
                     being earned.

                 (3) The net fees earned on servicing—GMAC Mortgage received payments
                     from Ally Bank for the net fees earned by Ally Bank on servicing for its
                     MSR assets. This amount generally included servicing revenue less
                     servicing expenses or losses.1052 Servicing expenses included the servicing
                     fees paid to GMAC Mortgage. As a result, GMAC Mortgage received all of
                     the income from servicing through receiving both the contractual servicing
                     fee and the profit (or loss) remaining after payment of that fee.

                 (4) The funding fee on the MSR and related servicing assets—GMAC
                     Mortgage paid to Ally Bank a funding fee that was calculated by applying
                     an agreed-upon interest rate to the total of all MSRs, servicing advances
                     and related payables reflected on the Bank’s balance sheet. The parties
                     increased the margin over LIBOR from the 1.0% rate established in 2007 to
                     3.25% in July 2010.1053




1052 As discussed above, while the amended and restated Schedule from July 2010 added references to certain

    losses related to representations and warranties, Ally Bank never actually paid any repurchase claims and
    thus did not deduct any such payments from the Net Servicing Fee. 2010 Net Funding Schedule, part 6(a)(v)
    [ALLY_0018118].
1053 2007  Net Funding Schedule, parts 6(a)(iii), (iv), (vi) [RC00027852], 2010 Net Funding Schedule,
    part 6(a)(iv) [ALLY_0018118].

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     The exchange proved to be a financially beneficial one to GMAC Mortgage. ResCap’s
records indicate that Ally Bank paid GMAC Mortgage a total of $699.7 million1054 over the
duration of the MSR Swap from September 2007 through termination in April 2012, as shown in
Exhibit V.B.12.b(1)—1 below.1055




    GMAC Mortgage recorded gains in its financial statements from 2007 through 2011 of
approximately the same amount as the cash payments shown above.1056 The income or loss on
the MSR Swap was reported as part of the Servicing Valuation and Hedge Activities, Net line
item that is part of Net Servicing Fees in the income statement of GMAC Mortgage.1057


1054 Ally Bank also provided  records reflecting approximately $585.2 million in cumulative net cash payments
   related to the MSR Swap made by the Bank to GMAC Mortgage for the period January 2008 to April 2012 but
   did not provide sufficient information for reconciliation with the ResCap data. Mortgage Division, Affiliate
   Transaction Summary [ALLY_0171134].
1055 ResCap—MSR Cash Summary [EXAM00231039].

1056 GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2008

   and 2007, at 72 [EXAM00234112]; GMAC Mortgage, LLC Consolidated Financial Statements, as of and for
   the years ended December 31, 2010 and 2009, at 61 [EXAM00234350]; GMAC Mortgage, LLC Consolidated
   Financial Statements, as of and for the years ended December 31, 2011 and 2010, at 66 [EXAM00234281]
   (showing total impact of the MSR Swap as $699 million from 2007 through 2011, though differences from cash
   payments were noted in 2007 and 2008).
1057 GMAC Mortgage, LLC Consolidated Financial Statements, as of and for the years ended December 31, 2008

   and 2007, at 72 [EXAM00234112]; GMAC Mortgage, LLC Consolidated Financial Statements, as of and for
   the years ended December 31, 2010 and 2009, at 61 [EXAM00234350]; GMAC Mortgage, LLC Consolidated
   Financial Statements, as of and for the years ended December 31, 2011 and 2010, at 66 [EXAM00234281].

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Exhibit V.B.12.b(1)—2 indicates that the annual gain or loss recognized by GMAC Mortgage on
the MSR Swap averaged 21.6% and ranged from -82.2% to 141.9% of the amounts reflected on
the GMAC Mortgage income statement for this line item.




     ResCap also provided accounting records quantifying each of the above-described elements
of the MSR Swap. Exhibit V.B.12.b(1)—3 below summarizes the cumulative changes related to
each element of the MSR Swap for the period September 2007 to April 2012. The inflows from
net servicing fees generally offset the outflows from market value changes, while the gain on
servicing assets far outweighed the funding fees.1058




1058 GMAC Mortgage did not calculate economic amortization separately from changes in interest rate assumptions

   in 2007 and 2008. The impact of the increase in the interest rate used to calculate the funding fee (from LIBOR
   plus 1% to LIBOR plus 3.25%) was immaterial relative to the total amount of funds exchanged under the MSR
   Swap.

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     Ally Bank paid GMAC Mortgage a total of $608.3 million during the period from January
2009 through April 2012 (after ResCap sold its interest in IB Finance), as shown in Exhibit
V.B.12.b(1)-4 below.1059 The relationship between the various elements remained generally
consistent. Available information segregating market value changes indicated that virtually the
entire net adjustment in this category related to economic amortization rather than changes in
interest rate assumptions.




1059 ResCap - MSR Cash Summary [EXAM00231039].



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     Considerable volatility due to interest rate changes is evident when looking at the MSR Swap
data on an annual rather than aggregated basis, as shown in Exhibit V.B.12.b(1)-5 below:




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     The payments under the MSR Swap due to periodic interest rate-driven changes in market
value were particularly pronounced in 2011, giving rise to $430 million of payments for that
element from GMAC Mortgage to Ally Bank. Exhibit V.B.12.b(1)-6 below, which shows
monthly MSR Swap payments from inception through April 2012, indicates that the most
significant changes occurred in the third quarter of 2011.




      ResCap, Ally Bank, and other mortgage servicers revised assumptions in their MSR
valuation models during 2011 to reflect changes in the macroeconomic environment, including
increases in prepayments rates and discounts rates and the impact of government initiatives and
settlements on both servicing costs and borrower behavior, all of which negatively affected the
value of MSRs.1060 Exhibits V.B.12.b(1)-7 and V.B.12.b(1)-8 below compare a measure of MSR
value for AFI and Ally Bank to a subset of other large financial institutions with significant MSR
portfolios. The AFI and Ally Bank MSR portfolios dropped in book value from 1.0% to 0.7% of
servicing unpaid principal balance between the second and third quarters of 2011, which was in
line with other industry participants. This market change in turn was the driver for many of the
payments under the MSR Swap related to changes in market value.




1060 MSR Performance Presentation, dated Aug. 2011 [ALLY_PEO_0031247].



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                  (2) Financial Results Of GMAC Mortgage’s Market MSR Risk Hedging

     GMAC Mortgage hedged all of its MSR risk, including the risk absorbed through the MSR
Swap, in the market1061 but did not allocate hedges between the Bank and GMAC Mortgage.1062
The results of GMAC Mortgage’s hedging activity are an important consideration in assessing
the economics of the MSR Swap.

     For the period January 2008 to March 2012, the MSR hedges for AFI on a consolidated
basis generated gains of $2.3 billion, though $2.0 billion of that amount was related to 2008.
These results were reported in the income statement as a component of the line item, Servicing
Valuation and Hedge Activities, Net.1063 The decrease in the fair value of AFI’s MSR assets
during this period was $4.8 billion. The hedges, which generally correlate to interest rate risk as
opposed to other value inputs such as cost to service, therefore offset only a portion of the
volatility in the value of the MSR asset, as shown in Exhibit V.B.12.b(2)-1 below.




1061 Int. of A. Celini, Feb. 18, 2013, at 116:18–21.

1062 The Debtors attempted to estimate the allocation of hedge results between the Bank and GMAC Mortgage using

    certain assumptions as to risks hedged and relative changes in market inputs. The results of the analyses did not
    provide a reliable basis upon which to allocate the results to Bank-owned MSRs given the number of factors that
    can influence hedge movement and changes in asset values. However, each of the allocation scenarios analyzed
    indicated significant gains on GMAC Mortgage’s hedges of the risk associated with the Bank’s MSR assets.
    MSR Hedge Allocation [EXAM00339989].
1063 This line item also included the net impact of the MSR Swap, as previously noted.



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     The above consolidated hedge results include GMAC Mortgage, RFC and Ally Bank. The
exhibit below demonstrates the relative MSR balances for each of these entities from 2003
through 2011. The Bank held no MSRs on its balance sheet before August 2007, but its portfolio
grew to $1.3 billion and approximately 51.1% of the GMAC Mortgage/RFC/Ally Bank
combined MSR balance as of December 2011.1064 This data provides a general framework for
considering the allocation of hedge results, though the portfolio age and composition are among
the factors that affect the level of interest rate sensitivity for any given portfolio.




1064 MSR Rollforward YTD 2011, dated Dec. 31, 2011 [EXAM00232592].



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     The Debtors’ accounting and financial records do not allow the reliable allocation of the
hedge results to assets subject to the MSR Swap. However, the overall hedging gains, as well
as other allocation scenarios analyzed, are likely indicative of hedging gains related to the
MSR Swap, according to the Debtors’ management.1065 Consequently, it appears that GMAC
Mortgage did not incur hedging losses that would materially affect the overall economic
impact of the MSR Swap, and likely earned gains on these hedges.

             c. Summary Of Analysis Of The Financial Results Under The Derivative
                Agreements

      Review and analysis of the pertinent accounting and financial records and inquiry of the
Debtors’ and Ally Bank’s employees and management regarding the same indicate that the
Pipeline Swap and the MSR Swap provided value to the Debtors. The information demonstrates
that the Pipeline Swap was near break-even from 2004 through 2011, while value transferred from
Ally Bank to GMAC Mortgage under the MSR Swap approximated $700 million over its
existence from 2007 through April 2012. The overall hedge results and other analyses produced
by the Debtors indicate that GMAC Mortgage did not incur hedging losses that would materially
affect the overall economic impact of the swaps, and likely earned gains on these hedges.
Accordingly, the Examiner concludes that the evidence supports the proposition that GMAC
Mortgage received a net benefit from the Pipeline Swap, the MSR Swap and the market hedges
relating thereto, assessing the entirety of the economics as implemented by the parties.

    13. Potential Claims Regarding The MMLPSA, Pipeline Swap, MSR Swap, And Loans
        Brokered To Ally Bank

     Based on the analysis of the transactions described above in this Section, the transactions
implicate the following issues, which raise potential contractual claims and other causes of
action:

                 (1) representation and warranty liability under the MMLPSA;

                 (2) failure to comply with the 2005 and 2006 Operating Agreements;

                 (3) application of the Pipeline Swap to the funding to sale period and to Ally
                     Bank-originated loans;

                 (4) misallocation of net revenues on loans brokered to Ally Bank by GMAC
                     Mortgage under the Broker Agreement; and

                 (5) failure to pay the value of correspondent-loan MSRs and purchased MSRs
                     to GMAC Mortgage under the MSR Swap.

The basis for these claims and the Examiner’s determination regarding each are further
addressed in Section VII.L.2.

1065 Meeting with J. Whitlinger in Ft. Washington, P.A. (Mar. 29, 2013).



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C. GOVERNMENT SETTLEMENTS & SUBSERVICING

      The Examiner Scope Approval Order specifically identifies two settlements among AFI
and ResCap, on the one hand, and various governmental entities, on the other, as worthy of
investigation. The objective is to determine whether such settlements properly allocated the
costs, both direct and indirect, between AFI entities and ResCap entities. The first is the
settlement with the Board of Governors of the Federal Reserve System and the Federal
Deposit Insurance Corporation, as memorialized by the FRB/FDIC Consent Order and related
CMP, among the FRB and the FDIC on the one hand and AFI, Ally Bank, ResCap, and
GMAC Mortgage on the other (though Ally Bank was not a party to the CMP) (the “FRB/
FDIC Settlement”). The second is the settlement with the U.S. Department of Justice and the
state Attorneys General, as memorialized by the DOJ/AG Consent Judgment, among the DOJ
and various state AGs on the one hand and AFI, ResCap, and GMAC Mortgage on the other
(the “DOJ/AG Settlement”). These settlements deal with a variety of allegations concerning
improper oversight of and execution of mortgage servicing, including allegations of “robo-
signing”—the practice of individuals signing foreclosure affidavits without reviewing the
validity or accuracy of the sworn statements.1066

     While these settlements are technically separate, they concern the same alleged
misconduct and were negotiated during the same time period with an understanding of the
aggregate penalties that would be imposed as a result of the settlements as a whole.
Furthermore, these settlements spurred agreements between AFI and ResCap and tangential
agreements with third parties. The aggregate effect of these various agreements was that a
majority of the costs of the settlements were allocated to ResCap entities, while AFI provided
certain support so that the ResCap entities could comply with these obligations. As explained
below and in Section VII of this Report, these related agreements implicate several potential
claims assertable on behalf of the Estate, which, in turn may be offset by potential defenses
assertable on behalf of AFI.

   1. Government Assesses Penalties Regarding Alleged Improper Mortgage Servicing
      Activities And Oversight

           a. Overview Of Settlements And The Agreements Related Thereto

     The agreements relating to the FRB/FDIC Settlement include: (1) the FRB/FDIC
Consent Order, filed on April 13, 2011, which required a foreclosure review by independent
consultants and imposed non-monetary restitution and changes to mortgage servicing and
mortgage servicing oversight that the AFI corporate group agreed to enact; (2) the CMP,
agreed to on February 9, 2012, and executed on February 10, 2012, which set forth the
monetary fine imposed on the AFI corporate group; and (3) the FRB Supplemental Agreement



1066 See Philip A. Lehman, EXECUTIVE SUMMARY OF MULTISTATE/FEDERAL SETTLEMENT OF FORECLOSURE

   MISCONDUCT CLAIMS, http://nationalmortgagesettlement.com/about.

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